Case 2:24-cv-00629-DCJ-TPL Document 3 Filed 05/13/24 Page 1 of 6 PageID #: 195
     AO 440 (Rev. 06/12) Summons in a Civil Action


                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                 LAKE CHARLES DIVISION


            STATE OF LOUISIANA, et al.                 )
                           Plaintiff                   )
                              v.                       ) Civil Action No. 2:24−CV−00629−DCJ−TPL
                                                       ) Judge David C Joseph
      EQUAL EMPLOYMENT OPPORTUNITY )
               COMMISSION
                  Defendant            )
                            SUMMONS IN A CIVIL ACTION

    To:
    U.S. ATTORNEY
    WESTERN DISTRICT OF LOUISIANA
    800 LAFAYETTE ST., STE: 2200
    LAFAYETTE, LA 70501−6832




           A lawsuit has been filed against you.

            Within 60 days after service of this summons on you (not counting the day you received it) −−
    or 60 days if you are the United States or a United States agency, or an officer or employee of the
    United States described in Fed. R. Civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff an answer
    to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
    answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:
                                        Tracy L Short
                                        LA Atty General's Office (BR)
                                        1885 N Third St
                                        Baton Rouge, LA 70802

          If you fail to do so, judgment by default will be entered against you for the relief demanded in
    the complaint. You also must file your answer or motion with the court.




                                                                                CLERK OF COURT

    Date: 5/16/2024                                                            /s/ − Daniel J. McCoy
Case 2:24-cv-00629-DCJ-TPL Document 3 Filed 05/13/24 Page 2 of 6 PageID #: 196
    AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                2:24−CV−00629−DCJ−TPL
                                            PROOF OF SERVICE
           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

    This summons for U.S. ATTORNEY
    WESTERN DISTRICT OF LOUISIANA
    800 LAFAYETTE ST., STE: 2200
    LAFAYETTE, LA 70501−6832 was received by me on (date)______________________________.


              • I personally served the summons on U.S. ATTORNEY
                WESTERN DISTRICT OF LOUISIANA
                800 LAFAYETTE ST., STE: 2200
                LAFAYETTE, LA 70501−6832 at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name)
                _____________ ___________________________ , a person of suitable age and discretion
                who resides there, on (date) _________________ , and mailed a copy to the individual's
                last known address; or

              • I served the summons on (name of individual) ______________________, who is
                designated by law to accept service of process on behalf of (name of organization)
                _____________________ ________________________________________ on (date)
                _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):

        My fees are $ __________ for travel and $ _________ for services, for a total of $
        ______________ .

        I declare under penalty of perjury that this information is true.




           Date: _______________________                         ______________________________
                                                                              Server's signature

                                                                 ______________________________
                                                                            Printed name and title


                                                                 ______________________________
                                                                              Server's address




  Additional information regarding attemped service,
  etc:
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     AO 440 (Rev. 06/12) Summons in a Civil Action


                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                 LAKE CHARLES DIVISION


            STATE OF LOUISIANA, et al.                 )
                           Plaintiff                   )
                              v.                       ) Civil Action No. 2:24−CV−00629−DCJ−TPL
                                                       ) Judge David C Joseph
      EQUAL EMPLOYMENT OPPORTUNITY )
               COMMISSION
                  Defendant            )
                            SUMMONS IN A CIVIL ACTION

    To:
    ATTN: CIVIL PROCESS CLERK
    U.S. ATTORNEY GENERAL
    950 PENNSYLVANIA AVENUE, N.W.
    WASHINGTON, D.C. 20530−0001




           A lawsuit has been filed against you.

            Within 60 days after service of this summons on you (not counting the day you received it) −−
    or 60 days if you are the United States or a United States agency, or an officer or employee of the
    United States described in Fed. R. Civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff an answer
    to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
    answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:
                                        Tracy L Short
                                        LA Atty General's Office (BR)
                                        1885 N Third St
                                        Baton Rouge, LA 70802

          If you fail to do so, judgment by default will be entered against you for the relief demanded in
    the complaint. You also must file your answer or motion with the court.




                                                                                CLERK OF COURT

    Date: 5/16/2024                                                            /s/ − Daniel J. McCoy
Case 2:24-cv-00629-DCJ-TPL Document 3 Filed 05/13/24 Page 4 of 6 PageID #: 198
    AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                2:24−CV−00629−DCJ−TPL
                                            PROOF OF SERVICE
           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

    This summons for ATTN: CIVIL PROCESS CLERK
    U.S. ATTORNEY GENERAL
    950 PENNSYLVANIA AVENUE, N.W.
    WASHINGTON, D.C. 20530−0001
    was received by me on (date)______________________________.


              • I personally served the summons on ATTN: CIVIL PROCESS CLERK
                U.S. ATTORNEY GENERAL
                950 PENNSYLVANIA AVENUE, N.W.
                WASHINGTON, D.C. 20530−0001
                at (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name)
                _____________ ___________________________ , a person of suitable age and discretion
                who resides there, on (date) _________________ , and mailed a copy to the individual's
                last known address; or

              • I served the summons on (name of individual) ______________________, who is
                designated by law to accept service of process on behalf of (name of organization)
                _____________________ ________________________________________ on (date)
                _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):

        My fees are $ __________ for travel and $ _________ for services, for a total of $
        ______________ .

        I declare under penalty of perjury that this information is true.




           Date: _______________________                         ______________________________
                                                                              Server's signature

                                                                 ______________________________
                                                                            Printed name and title


                                                                 ______________________________
                                                                              Server's address




  Additional information regarding attemped service,
  etc:
Case 2:24-cv-00629-DCJ-TPL Document 3 Filed 05/13/24 Page 5 of 6 PageID #: 199
     AO 440 (Rev. 06/12) Summons in a Civil Action


                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                 LAKE CHARLES DIVISION


            STATE OF LOUISIANA, et al.                 )
                           Plaintiff                   )
                              v.                       ) Civil Action No. 2:24−CV−00629−DCJ−TPL
                                                       ) Judge David C Joseph
      EQUAL EMPLOYMENT OPPORTUNITY )
               COMMISSION
                  Defendant            )
                            SUMMONS IN A CIVIL ACTION

    To:
    Equal Employment Opportunity Commission




           A lawsuit has been filed against you.

            Within 60 days after service of this summons on you (not counting the day you received it) −−
    or 60 days if you are the United States or a United States agency, or an officer or employee of the
    United States described in Fed. R. Civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff an answer
    to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
    answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:
                                        Tracy L Short
                                        LA Atty General's Office (BR)
                                        1885 N Third St
                                        Baton Rouge, LA 70802

          If you fail to do so, judgment by default will be entered against you for the relief demanded in
    the complaint. You also must file your answer or motion with the court.




                                                                                CLERK OF COURT

    Date: 5/16/2024                                                            /s/ − Daniel J. McCoy
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    AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                2:24−CV−00629−DCJ−TPL
                                            PROOF OF SERVICE
           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

    This summons for Equal Employment Opportunity Commission was received by me on
    (date)______________________________.


              • I personally served the summons on Equal Employment Opportunity Commission at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name)
                _____________ ___________________________ , a person of suitable age and discretion
                who resides there, on (date) _________________ , and mailed a copy to the individual's
                last known address; or

              • I served the summons on (name of individual) ______________________, who is
                designated by law to accept service of process on behalf of (name of organization)
                _____________________ ________________________________________ on (date)
                _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):

        My fees are $ __________ for travel and $ _________ for services, for a total of $
        ______________ .

        I declare under penalty of perjury that this information is true.




           Date: _______________________                         ______________________________
                                                                              Server's signature

                                                                 ______________________________
                                                                            Printed name and title


                                                                 ______________________________
                                                                              Server's address




  Additional information regarding attemped service,
  etc:
